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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

ERIC JACKSON, ALARIC STONE, and                       )
MICHAEL MARCENELLE, on behalf of                      )
themselves and all others similarly situated,         )
                                                      )       Case No. 4:22-cv-00825-P
                       Plaintiffs,                    )
v.                                                    )
                                                      )
ALEJANDRO N. MAYORKAS, in his official                )
capacity as Secretary of Homeland Security,           )
LLOYD J. AUSTIN, III, in his                          )
official capacity as Secretary of Defense,            )
LINDA L. FAGAN, in her official                       )
capacity as Commandant of the Coast Guard, and        )
BRIAN K. PENOYER, in his official capacity            )
as Assistant Commandant for Human                     )
Resources of the Coast Guard,                         )
                                                      )
                       Defendants.                    )


 PLAINTIFFS’ CONSENTED MOTION FOR LEAVE TO FILE CORRECTED BRIEF

        Pursuant to Local Rules 7.1 and 15.1, and with Defendants’ consent, Plaintiffs hereby

seek leave to file the attached corrected Brief Opposing Transfer. On October 10, 2022, Plaintiffs

timely filed their Brief Opposing Transfer (ECF No. 33). After filing, Plaintiffs caught an error:

in four places they inadvertently referred to “Middle District of Texas” instead of “Middle

District of Florida” (on pp. i and 11). This mistake is corrected in the attached corrected brief,

which is otherwise identical to the original brief. Defendants consent to this motion for leave.

        WHEREFORE, Plaintiffs respectfully request that the Court grant them leave to file the

attached corrected Brief Opposing Transfer.




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                            CERTIFICATE OF CONFERENCE

       I have conferred with counsel for Defendants about this motion for leave. Defendants’

counsel, Cody Knapp, told me that Defendants consented to this motion for leave.


/s/ Adam S. Hochschild
Adam S. Hochschild
Counsel for Plaintiffs




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Dated: October 11, 2022

Respectfully submitted,

/s/ Adam S. Hochschild

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* pro hac vice application forthcoming

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